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GOBIERNO DE PUERTO RICO PAG Eales
Autoridad para el Financiamiento de la
Infraestructura de Puerto Rico

Fecha: 2/1/2019
P.O. Box 41207

San Juan, PR 00940-1207 Factura#: 2919-0373
(787) 763-5757

Direcci6n Postal

Direcci6n de Servicio
TCAPR Corp.

TCAPR Corp.
World Plaza World Plaza
Suite 1001 Suite 1001

268 Munoz Rivera Avenue

268 Munoz Rivera Avenue
San Juan, PR 00918

San Juan, PROO918

Fecha Cargo Codigo =——“<i—~—‘sésCSiS Scrip ' CargoFijo Pies © Precio Cantidad ~~—S Sales
Cuadrados' Tax
2/1/2019 Renta-01  Rentadelocal —t™*S ~~ 1 "$3:000.00 0.00 $0.00 $3,000.00
Sales Tax: $0.00
Total: $3,000.00
Favor de emitir el pago a nombre de fa Autoridad para el Financiamiento de la Infraestructura de Puerto Rico.
Si tiene alguna pregunta relacionada a esta factura, favor de comunicarse al 787-763-5757. //* re
t
ID Cliente TCAPR Fecha: 2/1/2019
Nombre Cliente TCAPR Corp. Factura #: 2019-0373
FechaCargo  Cédigo § = — _ Deseripcidn | CargoFijo Pies = Precio = Cantidad ~—Ss Sales Tax.
| | dt ‘Cuadrados
2/1/2019 Renta-01 ‘Renta de local $3,000.00 0.00 $0.00 $3,000.00
a
Sales Tax: $0.00

Favor de remitir su pago con este talonario ala direccidn postal: :
P.O. Box 41207 - San Juan, PR 00940-1207 Tater SS:G00.00
6 entregar fisicamente en: | ¢
Edificio World Plaza Suite 1200, 268 Avenida Munoz Rivera, Hato Rey 0 f i | y[a 0 14
Case 3:12-cv-02039-FAB Document 1091-1 Filed 02/04/19 Page 2 of 3

Servicios Telefonia Fija: (787) 775-0000
Servicios Telefonia Movil: “611 desde su celular 0 (787) 763-3333

Isla: 1 (800) 981-2355

Horas de Servicios: Ver pagina 2 Servicio al Cliente

www.clarotodo.com

Factura 01/04/19

Cuenta 769528798 2

Num. Servicio 765-2209-978

Pagina 1 de 5
Balance Anterior $ 191.61
Pagos Recibidos - jGracias! $ 191.61CR
Ajustes $ 0.00
BALANCE VENCIDO $ 0.00

CARGOS/CREDITOS POR SERVICIOS

FIJO $ 188.74
TOTAL(? $ 188.74
TOTAL DE CARGOS CORRIENTES $ 188.74
TOTAL A PAGAR* $188.74
FECHA VENCIMIENTO 02/02/19 O \( A

*AVISO DE SUSPENSION: Para evitar la suspension del servicio, su pago
debe ser recibido en o antes de la fecha de vencimiento.

Estimado cliente, pague su factura utilizando nuestro servicio de pago expreso
disponible las 24 horas los 7 dias de la semana. Sdlo marque *7246 desde su
Claro movil o el (787) 281-4111 desde su Claro fijo.

Claro le recuerda que para evitar cargos de reconexién debe pagar su factura
antes de la fecha de vencimiento de la misma.

Por favor, desprenda este talon y devuélvalo con su pago.

Factura 01/0419

FECHA DE VENCIMIENTO 02/02/19
TOTAL A PAGAR $188.74

Cuenta 769528798 2

CANTIDAD ENVIADA |

27695287980 0000018874

70401

*Accede tu cuenta ge

¢Paga tu factura —
*Chatea online Fo

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‘' Para ver el detalle de su factura visite https://ebill.claropr.com
ite

TCAPR CORP

WESTERN BANK CTR

268 AVE MUNOZ RIVERA STE 1001
SAN JUAN PR 00918-1921
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RR GROUP, PSC

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RAG

#405 Esmeralda Avenue

PMB 146

Guaynabo, PR 00969

www. rrgrouppsc.com

T (787) 765-7980
F (833) 454-6983

E rrgcontact@rrgrouppsc.com

Bill to:
TCAPR, CORP.

Eric Guzman
Executive Manager

World Plaza, Office 1001
268 Mufoz Rivera Avenue

San Juan, PR 0918

Item

Retainer Services

Invoice for the Current Month

Invoice #: 4741
Date: 1/31/2019
Amount due (U.S. $): 1508.34
Terms of payment: Persuant to Agmt
Description Qty Unit cost Price
Monthly Fixed Fee Arrangement for January 2019: Monthly 1.00 1508.34 1508.34
and Year -End Accouting Cycle, Invoice Preparation
Assistance, Financial & Budget Reporting, Acounts Payable
Processing, Profesional Tax Withholding & Deposits, Monthly
Payroll Processing, Process Vendor & Payroll ACH
Transactions, Employer Quarterly Tax Preparation Services,
SIF Annual
Declaration and Renewal, Corporate Annual Tax Returns,
Annual Informative Tax Returns and the TCA's Income Tax
Returns.
Total: $ 1508.34

ELECTRONIC DEPOSIT INFORMATION
Banco Popular de Puerto Rico

Commercial Demand Deposit Account (USD)
Routing # 021502011

Account # 180074490

SUT# 0007014-0004
FEIN: XX-XXXXXXX

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